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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA


JURY TRIAL CIVIL MINUTE ORDER

Case No.05‐cv‐00037‐YGR             Case Name: The Apple iPod iTunes Anti-Trust Litigation

Date: Wednesday, December 10, 2014                 Time: 8:04am-8:17am counsel; 8:26am-10:03am ;
10:18am-11:44am; 12:00pm-1:31pm

The Honorable YVONNE GONZALEZ ROGERS

Clerk: Frances Stone                Court Reporter:       Raynee Mercado

COUNSEL FOR PLTF:

Bonnie Sweeney; Patrick Coughlin, Francis Balint; Alexandra Bernay

COUNSEL FOR DEFT:

William Isaacson; Karen Dunn; Martha Goodman; Meredith Dearborn, and Scott Murray for Apple

Voir Dire Began: 11/19/14

Trial Began: 12/2/14         Further Trial: Thursday, 12/11/14 at 8:30am; Counsel to be present at 8:00am

Trial Proceedings:

Defendant attorney Dunn calls witness John P.J. Kelly .

Defendant attorney Isaacson calls witness Kevin Murphy.




EXHIBITS
